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Counsel for Development Services Group, Inc.

                     IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF ALASKA

In re:                                            :
                                                  :
WILLIAM CLAUDE AMBERCROMBIE                       :      Case No. A18-00135
                                                  :      Chapter 7
                      Debtor                      :
                                                  :

                            Opposition to Closing Bankruptcy

         Erik LeRoy, P.C. on behalf of Development Services Group, Inc. objects to this

bankruptcy being closed at this time and requests a forty five day delay in the closing of

this bankruptcy to allow the Trustee to consider whether he will withdraw his report of

no distribution.

         Debtor scheduled Creditor as its largest creditor but did not include an address

for Creditor and consequently, Creditor did not receive notice of the bankruptcy or the

creditor’s meeting. (Our Objection to Exemption contained a typographical error when it

erroneously said that the Debtor did include an address f or creditor in his filing. He did

not. (See DE 1, p 22.) We did not learn about the bankruptcy until very shortly before

the deadline for objecting to discharge.)

         Creditor believes there may be undisclosed assets in this bankruptcy that he will

ask the Trustee to investigate.
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August 31, 2018                 Erik LeRoy, P.C.
                                Counsel for Development Services Group, Inc.
                                Alaska Bar Number 8310130

                                /s/ Erik LeRoy


                                          Certificate of Service

I certify that August 31, 2018, a copy of this pleading was served by electronic means through the ECF
system as indicated on the Notice of Electronic Filing.

Erik LeRoy

/s/ Erik LeRoy
